                                         EXHIBIT
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                                    1 52 0 P en n Aven u e - P it t s b u rgh , P en n s ylvan ia 1 52 2 2
                                                      P h on e: (4 1 2 ) 350 - 4 8 00
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                                               KARL E. WILLIAMS, M.D., M.P.H.
 ABDULREZAK SHAKIR, M.D.                                                                                          ROBERT HUSTON
                                                    MEDICAL EXAMINER
DEPUTY MEDICAL EXAMINER                                                                                      DIRECTOR OF LABORATORIES

                                              CONFIDENTIAL
   Submitted herewith please find the confidential Report of Laboratory Findings relating to the following case:

Lab Case No.           Report No.                     Report Date
19LAB01682             2                              April 19, 2019

                       Agency Case No.                Agency                                                  Case Officer
                       2019007                        NORTH VERSAILLES PD                                     S. KUCIC #3150
                                                      1401 Greensburg Pike
                                                      North Versailles, PA 15137-1613

Participant(s)                                          OTN
JERMAINE CLARK                                          G8314154
TERRY SUGGS                                             G8314174



The Crime Lab User Fee:                         $1,250.00




                                                IMPORTANT NOTICE
The Division of Laboratories must be notified when an OTN becomes available for the participant(s) in this case.
                       Please call (412) 350-3734 or FAX this information to (412) 350-3861.

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                                                                       EXHIBIT
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                                                                        COUNTY OF ALLEGHENY

                                                                    OFFICE OF THE MEDICAL EXAMINER
                                                                 DIVISION of FORENSIC LABORATORIES
                                                                 REPORT OF LABORATORY FINDINGS

Lab Case No.                                      Report No.                                                       Agency Case No.
19LAB01682                                        2                                                                2019007

                                                               DRUG CHEMISTRY SECTION REPORT


The items included in this report were tested within the following date range: 04/09/2019 to 04/ 15/2019.



The following items were submitted:
Item         Description
1            A tape-sealed white cardboard box containing Latent Print processed items 1A and 1B, and 1A1.
             Item 1A1 will be processed by Drug Chemistry.
1A1          A heat-sealed colorless plastic bag containing five (5) wrapped packages of compressed off-white
             powder
             Items Analyzed - Two (2) wrapped packages of compressed off-white powder
             Items NOT Analyzed - Three (3) wrapped packages of compressed off-white powder
2            A tape-sealed white cardboard box containing Latent Print processed item 2A, and 2A1. Item 2A 1
             will be processed by Drug Chemistry.
2A1          Two (2) heat-sealed colorless plastic bags containing a total of ten (10) wrapped packages of
             compressed off-white powder
             Items Analyzed - Two (2) wrapped packages of compressed off-white powder
             Items NOT Analyzed - Eight (8) wrapped packages of compressed off-white powder
3            A tape-sealed red and white cardboard box containing Latent Print processed item 3A, and 3A1.
             Item 3A1 will be processed by Drug Chemistry.
3A1          A heat-sealed colorless plastic bag containing a total of eight (8) wrapped packages of compressed
             off-white powder
             Items Analyzed - Two (2) wrapped packages of compressed off-white powder
             Items NOT Analyzed - Six (6) wrapped packages of compressed off-white powder



Laboratory Findings
                             Test Procedures
              Not Analyzed
Item Number




                                                                              Schedule




                                                  Results                                Weight ( Measurement Uncertainty*)
1A1                          1,6,7,8,9            METHAMPHETAMINE            2           collective net weight - 2016.2 grams (+/- 1.6 grams)
                                                  COCAINE                    2           collective gross weight (Not Analyzed) - 3141.9 grams (+/-0.8
                                                                                         grams)




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                                                                        COUNTY OF ALLEGHENY

                                                                    OFFICE OF THE MEDICAL EXAMINER
                                                                 DIVISION of FORENSIC LABORATORIES
                                                                 REPORT OF LABORATORY FINDINGS

Lab Case No.                                      Report No.                                                         Agency Case No.
19LAB01682                                        2                                                                  2019007

                                                               DRUG CHEMISTRY SECTION REPORT
                             Test Procedures
              Not Analyzed
Item Number




                                                                              Schedule
                                                  Results                                  Weight ( Measurement Uncertainty*)
2A1                          1,6,8,9              METHAMPHETAMINE            2             collective net weight - 2015.4 grams (+/- 1.6 grams)
                                                  COCAINE                    2             collective gross weight (Not Analyzed) - 8422.0 grams (+/-2.4
                                                                                           grams)



3A1                          1,6,8,9              METHAMPHETAMINE            2             collective net weight - 2013.9 grams (+/- 1.6 grams)
                                                  COCAINE                    2             collective gross weight (Not Analyzed) - 6322.2 grams (+/-1.6
                                                                                           grams)




NC = Non-Controlled Substance
OTC = Over the Counter Pharmaceutical
RX = Prescription Pharmaceutical
*All measurement uncertainty reported are an expanded uncertainty at a coverage probability of 95.45%.


TEST PROCEDURE KEY
1. Gravimetric Analysis                                                                  7. Fourier Transform Infrared Spectroscopy
2. Short/Long Wave UV                                                                    8. Gas Chromatography-Mass spectrometry
3. Macroscopic Examination                                                               9. Gas Chromatography / FID
4. Microscopic Examination                                                               10. Pharmaceutical Identification
5. Mod.Duquenois -Levine Color Test                                                      11. Thin Layer Chromatography
6. Color Test(s)

Analysis of submitted items was based upon a sampling scheme.




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                                                      COUNTY OF ALLEGHENY

                                                OFFICE OF THE MEDICAL EXAMINER
                                              DIVISION of FORENSIC LABORATORIES
                                               REPORT OF LABORATORY FINDINGS

Lab Case No.             Report No.                                                             Agency Case No.
19LAB01682               2                                                                      2019007

                                          DRUG CHEMISTRY SECTION REPORT
                                                    Respectfully submitted,




                                                            Christopher Merrill, M.S.
                                                            Scientist
The analysis was performed using laboratory-approved procedures or standards and this Report of Laboratory Findings accurately
reflects the findings and opinions of the person(s) who performed the analysis or examination regarding the results reported.

The conclusions, interpretations and/or opinions in this Report of Laboratory Findings are those of the above signed author.




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